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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

    LINDA MEDLEY,
                                              Case No.: 8:16-CV-02534-CEH-TBM
          Plaintiff,
    v.

    DISH NETWORK L.L.C.,

           Defendant.
                                          /

     DEFENDANT DISH NETWORK L.L.C.’S MOTION FOR LEAVE TO
       FILE A REPLY IN SUPPORT OF ITS MOTION IN LIMINE TO
        EXCLUDE TESTIMONY FROM UNDISCLOSED WITNESS

          Defendant DISH Network L.L.C. (“DISH”) hereby seeks leave to file a

    Reply to address Plaintiff’s strained interpretation of “my attorneys” to include

    notice of her bankruptcy attorney, Ryan Singleton. (Doc. 151.) The Response’s

    contention that Plaintiff “advised DISH that her attorneys—which includes

    Singleton—were individuals that had information relevant to the claims and

    defenses in this case” is based on the thinnest of reeds and a single instance.

    (Doc. 151, p. 2; Doc. 2, p. 21.)

          DISH’s Interrogatory No. 1 asked Plaintiff to “identify all persons” — not

    generic groups such as “my attorneys” — with “knowledge of facts which relate

    to the Action and provide a summary of that knowledge.” (See Exhibit A.)
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    Plaintiff did not do so despite her requirement to “provide the specific names of

    the individuals [she] might use as witnesses.” 6 MOORE’S FEDERAL PRACTICE -

    CIVIL § 26.22(4)(a)(i) (stating it “is not sufficient to identify [witnesses] through

    the use of a collective description”) (emphasis added); see, e.g., Pritchett v.

    Werner Enters., No. 12-0182-WS-C, 2014 U.S. Dist. LEXIS 196684, *3 n.1

    (S.D. Ala. Feb. 11, 2014) (same).

          Instead, Plaintiff disclosed Mr. Singleton for the first time on her witness

    list exchanged last month, and as a “likely” witness. (Doc. 133, p. 6.) This late

    disclosure deprived DISH of the opportunity to depose and perform discovery

    related to Mr. Singleton.

          Worse, the Eleventh Circuit resolved all bankruptcy issues and none

    remain. Medley v. Dish Network, LLC, 958 F.3d 1063 (11th Cir. 2020). The jury

    must be permitted to consider only what is relevant to the issues on remand. As

    has become a recurring theme at this point, the issue to be decided on remand is

    not DISH’s knowledge of Plaintiff’s bankruptcy itself, which is not disputed.

    Plaintiff tries to counter by pointing out that DISH’s position is that Mr. Singleton

    does not have relevant testimony for the issue to be decided now. (Doc. 151 at

    6.) That is absolutely true, and that is also the point: absent Plaintiff actually




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    identifying Mr. Singleton and disclosing her intent to call him as a witness, DISH

    would never have thought to depose Singleton.

          Therefore, DISH seeks leave to file a Reply and fully argue that the Court

    should exclude all testimony from Mr. Singleton — Plaintiff’s “likely” and late-

    disclosed witness.

          Dated: July 20, 2021            /s/ Eric Larson Zalud
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                                CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 20th day of July, 2021, I electronically

    filed the foregoing document with the Clerk of the Courts by CM/ECF. I also

    certify that the foregoing document is being served this date on the following

    counsel of record in the manner specified, either via transmission of Notice of

    Electronic Filing generated by CM/ECF or in some other authorized manner for

    those counsel or parties who are not authorized to receive electronically Notices

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                                               /s/ Eric Larson Zalud
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